           Case 20-06048-wlh                      Doc 1          Filed 02/26/20 Entered 02/26/20 13:10:43                                     Desc Main
                                                                 Document      Page 1 of 4
  B1040 (FORM 1040) (12/15)
                                      _
           ADVERSARY PROCEEDING COVER SHEET                                                            ADVERSARY PROCEEDING NUMBER
                                                                                                       (Court Use Only)
                                (Instructions on Reverse)

PLAINTIFFS                                                                              DEFENDANTS
Ca        1541a,V1 \AI i \ \-‘         advvvs                                           Adeol            tk-W a-        k           Aoe-i-avo
ATTORNEYS (Firm Name, Address, and Telephone No.)                                       ATTORNEYS (If Known)

                                                                                        Orl              • Gee-r
PARTY (Check One Box Only)                                                              PARTY (Check One Box Only)
o Debtor    o U.S. Trustee/Bankruptcy Admin                                             VDebtor      o U.S. Trustee/Bankruptcy Admin
   reditor  o Other                                                                     o Creditor   0 Other            ,
o Trustee                                                                               o Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
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                                                                        NATURE OF SUIT
          (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

      FRBP 7001(1) - Recovery of Money/Property                                         FRBP 7001(6) - Dischargeability (continued)
.     11-Recovery of money/property - §542 turnover of property                         0 61-Dischargeability - §523(a)(5), domestic support
111   12-Recovery of money/property - §547 preference                                   0 68-Dischargeability - §523(a)(6), willful and malicious injury
IN    13-Recovery of money/property - §548 fraudulent transfer                          0 63-Dischargeability - §523(a)(8), student loan
II    14-Recovery of money/property - other                                             0 64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                               (other than domestic support)
      FRBP 7001(2) - Validity, Priority or Extent of Lieu                               0   65-Dischargeability - other
      21-Validity, priority or extent of lien or other interest in property
                                                                                                                                                         (--3
                                                                                        FRBP 7001(7) - Injunctive Relief                                 ,=7,
      FRBP 7001(3) - Approval of Sale of Property                                       0 71-Injunctive relief- imposition of sta               2:                         r li
      31-Approval of sale of property of estate and of a co-owner - §363(h)                                                                       'J
                                                                                        0 72-Injunctive relief- other          --vi I                    rrI          -,
                                                                                                                                                 r,-1    co
    FRBP 7001(4) - Objection/Revocation of Discharge                                                                         ,----
                                                                                        FRBP 7001(8) Subordination of Claim oli I
                                                                                                                                           ‹.--) —
                                                                                                                                           uesC2-
                                                                                                                                                         r....)
111 41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                        0 81-Subordination of claim or interest;

    FRBP 7001(5) -Revocation of Confirmation                                                                               -,1                       _    -__i.
                                                                                                                                                             ----
                                                                                        FRBP 7001(9) Declaratory Judgment -7.-o                  -                                  -
 I. 51-Revocation of confirmation                                                       07:                                                                (N                   )
                                                                                           91-Declaratory judgment                                         —J                 -1 :--,
                                                                                                                                                  cii       "
                                                                                                                                                            cr1                         .
     FRBP 7001(6) - Dischargeability                                                                                                                                                ,
                                                                                        FRBP 7001(10) Determination of Remove A                             cD
1111 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
                                                                                        0 01-Determination of removed claim or cau e
iM 62-Dischargeability - §523(a)(2), false pretenses, false representation,
         actual fraud                                                                   Other
. 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny           0 SS-SIPA Case - 15 U.S.C. §§78aaa et.seq.
                         (continued next column)                                            02-Other (e.g. other actions that would have been brought in state court
                                                                                               if unrelated to bankruptcy case)
o Check if this case involves a substantive issue of state law                          n Check if this is asserted to be a class action under FRCP 23
o Check if a jury trial is demanded in complaint                                        Demand $      L ) boo.
Other Relief Sought
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                                                 Document      Page 2 of 4
 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR 11 1                          BANKRUPTCY CASE NO.
              J\&011.1tAicC\Ikt Acie410                          26-1025q                                                — vOk
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
                                                                        A-OCUrTV 6L
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                 ADVERSARY

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                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                        -                                          PRINT NAME OF ATTORNEY (OR PLAINTIFF)
       ,
    2-26        -ao                                                     e\IY18-Vieal \i.             CLMS



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court's Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
          Case 20-06048-wlh       Doc 1 Filed 02/26/20 Entered 02/26/20 13:10:43            Desc Main
                                  UNITED STATES
                                         Document BANKRUPTCY
                                                      Page 3 of 4COURT
                                   NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION


         IN RE:                                           Case No.   26- (0252-1 co- wi h
         AdeoLv,ia:Ue_Me                  o               Chapter    1-1
                                       Debtor

                                                          Adversary No.

                                   Plaintiff

         VS.


         ,Adeoliw Ake- AdeVay o
                                Defendant


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